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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

  DANESH NOSHIRVAN
  an individual,                                      CASE NO:
                                                      2:23-cv-01218-JES-NPM
        Plaintiff,

  vs.

  JENNIFER COUTURE, et’al,

        Defendant(s).
  ___________________________/
                          PLAINTIFF’S MOTION TO SEAL

        Plaintiff, DANESH NOSHIRVAN, by and through undersigned counsel,

  and pursuant to Local Rule 1.11, and the Protective Order dated February 10, 2025

  [DE 251], respectfully moves this Court for an Order permitting the filing of

  Exhibits to Plaintiff’s Response in Opposition to Trainor’s Time-Sensitive Motion

  Pursuant to Rule 26(C) For Entry of a Protective Order to Vacate Danesh

  Noshirvan’s Notice of Videotaped Deposition and Document Demands, being

  filed on this date, under seal, and states as follows:

        1. The documents sought to be filed under seal are Exhibits A, D, and E.

            These Exhibits contain confidential information or may be perceived to

            contain confidential information pursuant to the Protective Order. See

            Exhibit 1, 2, and 3 attached.

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        2. Disclosure of this confidential information could result in a violation of

           the Protective Order.

        3. In light of the sensitivity of the confidential information filing under seal

           is necessary.

        4. The moving party has taken reasonable steps to protect the

           confidentiality of the information, however, redaction of such

           voluminous documents is not reasonable.

        5. Plaintiff requests this Honorable Court seal the Exhibits A, D, and E to

           Plaintiff’s Response in Opposition to Trainor’s Time-Sensitive Motion

           Pursuant to Rule 26(C) For Entry of a Protective Order to Vacate Danesh

           Noshirvan’s Notice of Videotaped Deposition and Document Demands

           until this matter is concluded, and this case is closed.

        6. The undersigned is the person authorized to retrieve the sealed, tangible

           item referred to in this Motion.

           WHEREFORE, the Plaintiff respectfully requests this Honorable Court

  seal the requested Exhibits A, D, and E to Plaintiff’s Response in Opposition to

  Trainor’s Time-Sensitive Motion Pursuant to Rule 26(C) For Entry of a Protective

  Order to Vacate Danesh Noshirvan’s Notice of Videotaped Deposition and

  Document Demands until this matter has concluded, and this case is closed, and

  any further relief the Court finds just and proper.


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                          LOCAL RULE 3.01(g) CERTIFICATION

        The undersigned certifies that in accordance with Local Rule 3.01(g), he

  conferred with Patrick Trainor via telephone on April 07, 2025, and he has no

  opposition to Plaintiff’s Motion to Seal the Exhibits referred to in this Motion.

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                             CERTIFICATE OF SERVICE

         I hereby certify that on April 07, 2025, I electronically filed the foregoing
  with the Clerk of Court by using the CM/ECF system, which will send notice of
  electronic filing to the following:

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                                              /s/ Nicholas A. Chiappetta
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